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                     IN THE UNITED STATES DISTRICT COURT FOR
                     THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   HUNTINGTON DIVISION


TARA and MICHAEL CADLE,

                               Plaintiffs,

v.                                                   CIVIL ACTION NO. 3:19-0360

UNITED STATES OF AMERICA,

                               Defendant.


                                             ORDER


         The Court has been advised by counsel of the pending settlement of this action. It being

unnecessary to conduct further proceedings in this matter, the Court ORDERS as follows:

         1.     That this action be STAYED. The Court will lift the stay for good cause shown

upon the motion of a party. Such motion must be made within thirty days of the entry of this Order.

         2.     That the parties submit an agreed order of dismissal by October 22, 2020. If the

parties fail to submit an agreed dismissal order by October 22, 2020, the Court will enter an

order dismissing the case without prejudice. This date may only be extended by order of this

Court.

         The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented parties.


                                             ENTER:         September 22, 2020




                                             ROBERT C. CHAMBERS
                                             UNITED STATES DISTRICT JUDGE
